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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 PROPERTY-OWNERS INSURANCE             )               CAUSE NO. 1:18-cv-00304-RLY-DLP
 COMPANY,                              )
                                       )
                Plaintiff,             )
                                       )
      v.                               )
                                       )
 WAL-MART STORES EAST, LP.,            )
 WAL-MART REAL ESTATE BUSINESS         )
 TRUST, WAL-MART STORES EAST, INC. and )
 WAL-MART STORES, INC.,                )
                                       )
                Defendants.            )

                                          ORDER

          The parties having so stipulated, the above-captioned cause of action is hereby

 ORDERED dismissed, with prejudice, costs paid.

            9/05/2018
 Dated: __________________________

                                                  MAGISTRATE JUDGE, United States
                                                  District Court, Southern District of Indiana,
                                                  Indianapolis Division
 DISTRIBUTION TO:
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